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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

  DONALD J. TRUMP FOR PRESIDENT,                     )
  INC., et al.,                                      )
                                                     )
                 Plaintiffs,                         )
                                                     ) CIVIL ACTION
          v.                                         )
                                                     )
  KATHY BOOCKVAR, et al.,                            )
                                                     ) No. 20-CV-02078
                 Defendants.                         )
                                                     )




                    MOTION FOR WITHDRAWAL OF APPEARANCE

       Pursuant to Local Rule 83.15, Linda A. Kerns, John Scott, and Douglas Bryan Hughes

hereby move to withdraw their appearance as counsel for Plaintiffs. Marc A. Scaringi will act as

counsel for Plaintiffs. Plaintiffs consent to this withdrawal. A proposed order is attached.



Date: November 16, 2020                          Respectfully submitted,

                                           By: /s/ Linda A. Kerns
                                               Linda A. Kerns (ID # 84495)

                                                 /s/ John B. Scott
                                                 John B. Scott (ID # 17901500)

                                                 /s/ Douglas Bryan Hughes
                                                 Douglas Bryan Hughes (ID # 00793995)


                                                 Counsel for Plaintiffs




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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

  DONALD J. TRUMP FOR PRESIDENT,                    )
  INC., et al.,                                     )
                                                    )
                    Plaintiffs,                     )
                                                    ) CIVIL ACTION
             v.                                     )
                                                    )
  KATHY BOOCKVAR, et al.,                           )
                                                    ) No. 20-CV-02078
                    Defendants.                     )
                                                    )




                            MEMORANDUM IN SUPPORT OF
                       MOTION FOR WITHDRAWAL OF APPEARANCE


        Plaintiffs and Linda A. Kerns, John Scott, and Douglas Bryan Hughes have reached a

mutual agreement that Plaintiffs will be best served if Linda A. Kerns, John Scott, and Douglas

Bryan Hughes withdraw, and Marc A. Scaringi represent Plaintiffs in this case. Marc A. Scaringi

is aware of the schedule set by the Court in this matter and will be prepared to proceed according

to that schedule.

        Linda A. , John Scott, and Douglas Bryan Hughes will abide fully by their obligations

under Pennsylvania Rule of Professional Conduct 1.16 (d) and otherwise take such steps as are

necessary to avoid prejudice to Plaintiffs in this matter or to delay the Court’s consideration of


this case.

        Accordingly, Linda A. Kerns, John Scott, and Douglas Bryan Hughes ask that they be

granted leave to withdraw


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Date: November 16, 2020              Respectfully submitted,

                                By: /s/ Linda A. Kerns
                                    Linda A. Kerns, Esquire
                                    Law Offices of Linda A. Kerns, LLC
                                    Attorney ID 84495
                                    1420 Locust Street, Suite 200
                                    Philadelphia, PA 19102
                                    T: 215-731-1413
                                    lak@lindakernslaw.com

                                     /s/ John B. Scott
                                     John B. Scott (ID # 17901500)
                                     405 W. 14th St
                                     Austin, TX 78701
                                     512 340 7805

                                     /s/ Douglas Bryan Hughes
                                     Douglas Bryan Hughes (ID # 00793995)
                                     Suite 207
                                     110 N. College Avenue
                                     Tyler, TX 75702


                                     Counsel for Plaintiffs




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 16th day of November, 2020, I did cause a true and correct

copy of the foregoing Motion and Memorandum to be served via the ECF system upon all coun-

sel of record



Date: November 16, 2020                       Respectfully submitted,

                                        By: /s/ Linda A. Kerns
                                            Linda A. Kerns, Esquire
                                            Law Offices of Linda A. Kerns, LLC
                                            Attorney ID 84495
                                            1420 Locust Street, Suite 200
                                            Philadelphia, PA 19102
                                            T: 215-731-1413
                                            lak@lindakernslaw.com

                                              /s/ John B. Scott
                                              John B. Scott (ID # 17901500)
                                              405 W. 14th St.
                                              Austin, TX 78701
                                              512-340-7805

                                              /s/ Douglas Bryan Hughes
                                              Douglas Bryan Hughes (ID # 00793995)
                                              Suite 207
                                              110 N. College Avenue
                                              Tyler, TX 75702

                                              Counsel for Plaintiffs




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                    I IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

  DONALD J. TRUMP FOR PRESIDENT,               )            No. 4:20-CV-02078
  INC., et al.,                                )
                                               )            (Judge Brann)
                Plaintiffs,                    )
                                               )
          v.                                   )
                                               )
  KATHY BOOCKVAR, et al.,                      )
                                               )
                Defendants.                    )
                                               )


                              ORDER GRANTING
                   MOTION FOR WITHDRAWAL OF APPEARANCE


        Upon consideration of the Motion to Withdraw Appearance, it is hereby ORDERED,

ADJUDGED, and DECREED on this ______ day of November, 2020, that the appearance of

Linda A. Kerns, John Scott, and Douglas Bryan Hughes, is hereby withdrawn as counsel for

Plaintiffs.

        SO ORDERED.



                                               BY THE COURT:



                                               _________________________
                                               Matthew W. Brann
                                               United States District Judge
